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                               United States District Court
                               For the District of Columbia

 True the Vote, Inc.;
                                               Plaintiff,
         v.
                                                            Civil Case No. 1:13-cv-000734-RBW
 Internal Revenue Service, et al.;
                                            Defendants.


                    Plaintiff’s Notice of Supplemental Authority

       Plaintiff True the Vote, Inc. (“TTV”) asks this Court to take notice of the following

supplemental authorities: (1) Serv. Emps. Int’l Union Loc. 32BJ v. Preeminent Protective Servs.

Inc., 997 F.3d 1217 (D.C. Cir. 2021); and (2) Select Specialty Hosp.-Denver, Inc. v. Azar, No.

CV 10-1356 (BAH), 2020 WL 3469685 (D.D.C. June 25, 2020). Both authorities support

Plaintiff’s Opposition to Defendants’ Motion for Partial Reconsideration, ECF No. 173, and this

Court’s Memorandum Opinion on fees, ECF No. 162.

       This Court properly analyzed and determined that TTV is entitled to attorneys’ fees under

the Equal Access to Justice Act (“EAJA”), 28 U.S.C. § 2412(d) (“Subsection (d)”), because

TTV was a prevailing party and because the Defendants’ conduct, which was the basis for this

litigation, was not substantially justified. Mem. Op., ECF No. 162. In addition, this Court

determined TTV should be awarded those attorneys’ fees based on market rates, not the statutory

rate, because the Defendants’ conduct underlying this litigation was in bad faith (“Bad Faith

Enhancement”). Id.

       Defendants Internal Revenue Service, et al. (“IRS”) argued that this Court was obligated

to apply a “but for” analysis linking the bad faith actions to specific fees. Defendants’ Motion for

Partial Reconsideration at 2, ECF No. 170 (citing Goodyear Tire & Rubber Co. v. Haeger, 137 S.
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Ct. 1178 (2017); Xue Lu v. United States, 921 F.3d 850, 861 (9th Cir. 2019)). As Plaintiff

pointed out, no court in this Circuit had applied Goodyear to the EAJA, Plaintiff’s Opposition at

3 - 4, and in the intervening three years since the IRS’ Motion for Partial Reconsideration, still no

court in this Circuit has applied Goodyear to an EAJA case. In fact, this circuit has declined to

extend Goodyear’s holding beyond the question of whether a court can use its inherent

sanctioning power to shift fees unrelated to party misconduct. However, another court in this

district has analyzed the question of an EAJA award of fees using the same standard this Court

did—namely, Gray Panthers Project Fund v. Thompson, 304 F. Supp. 2d 36 (D.D.C. 2004).

       Because no precedent exists to apply Goodyear to the facts of this case, and because

subsequent decisions in this circuit support this Court’s Gray Panthers analysis, this Court

should deny the Defendants’ Motion for Partial Reconsideration and award TTV fees according

to the bad faith enhanced rates it already determined TTV was entitled to under the EAJA.

                I. Goodyear has not been applied to EAJA cases in this Circuit.

       The central holding of Goodyear is that an award for attorneys’ fees related to a sanction

be compensatory, rather than punitive in nature. 137 S. Ct. at 1186. The Goodyear Court held

that a “but for” analysis must tie such a sanction-related award of fees to the specific bad faith

conduct because to do otherwise would not just provide relief for compensatory damages, but

would provide relief that was punitive in nature. Id. Punitive damages require more substantial

procedural due process safeguards than does compensatory damages. Id. Goodyear requires that

it must be shown that the attorneys would not have had to litigate if not for the bad faith that is

linked to the sanction at issue; it says nothing about cases where, as here, the award of attorney’s

fees is not based on a sanction. Put another way, the question of whether an award is providing


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relief for compensatory or punitive damages is not at issue in the EAJA. Cases decided since the

IRS submitted its motion for reconsideration confirm this reading of Goodyear.

       Since the motion for reconsideration was submitted, six cases in this circuit have cited to

Goodyear.1 Although not an EAJA case, in the only D.C. Circuit case to cite Goodyear, the court

declined to extend Goodyear beyond the narrow question presented. Serv. Emps. Int’l Union Loc.

32BJ, 997 F.3d at 1222-23 (finding that court’s use of prevailing market rate in an award of fees

related to contempt was within court’s broad discretion and was not punitive).

       An award under the EAJA is easily distinguishable from an award due to sanctions, and

the question of whether an award is compensatory or punitive is not at issue in the EAJA. In a

sanction award for fees, the award is tied to specific litigation conduct and the award is designed

to compensate attorneys for litigation efforts and the subsequent damages they would not

otherwise have borne. Hence, the Goodyear Court’s analysis of compensatory versus punitive

damages. But an award under the EAJA is not meant to compensate for damages that would not

have been sustained otherwise—it is a statutorily authorized award for the entire litigation effort.

       Therefore, no Goodyear “but for” analysis is required in an EAJA case where pre-

litigation bad faith is found as a justification for fee enhancement because the underlying concern


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         The other five cases were district court cases, and none were EAJA cases—all involved
some sort of sanction question. See Doe I v. Exxon Mobil Corp., No. 1:01-CV-1357-RCL, 2021
WL 1910892 (D.D.C. May 12, 2021) (Rule 11 Sanctions); Klayman v. Jud. Watch, Inc., No. CV
06-670 (CKK), 2019 WL 3719008 (D.D.C. Aug. 7, 2019) (Sanctions—no substantive discussion
of Goodyear); Matthews v. Fed. Bureau of Investigation, No. CV 15-569 (RDM), 2021 WL
2823124 (D.D.C. July 7, 2021) (pro se litigant sought review of other district court’s decision);
Williams v. Romarm S.A., No. 19-CV-183 (EGS), 2021 WL 131459 (D.D.C. Jan. 14, 2021),
appeal dismissed sub nom. Williams v. Romarm, SA, Mfr., Imp. & Distrib. of Semiautomatic
Assault Weapon WASR10, Ser. No. CA4367-70, No. 21-7010, 2022 WL 412449 (D.C. Cir. Feb.
3, 2022) (Sanctions—cited to note court’s inherent authority to issue sanctions); Zhao v. Li, No.
CV 20-3138 (TJK), 2022 WL 6727338 (D.D.C. Oct. 11, 2022) (Sanctions).

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of whether an award is for compensatory or punitive damages is simply not at issue —one

threshold determination of pre-litigation bad faith governs eligibility for fees for the entire action.

              II. Gray Panthers is the correct analytical framework for this case.

       This Court held that a prevailing party may receive a bad faith enhancement to an award

of attorneys’ fees if pre-litigation bad faith is found “where a party confronted a clear statutory

duty or judicially-imposed duty toward another, is so recalcitrant in performing that duty that the

injured party is forced to undertake otherwise unnecessary litigation to vindicate plain legal

rights.” Mem. Op., ECF No. 162 at 19 (citing Gray Panthers Project Fund, 304 F. Supp. 2d at

39). This Court found that the IRS was confronted with a clear judicially-imposed duty to refrain

from viewpoint discrimination as required by the First Amendment. Mem. Op., ECF No. 162 at

20. Because the IRS failed to comply with this clear duty to refrain from viewpoint

discrimination, this Court held the IRS’ failure amounted to the type of pre-litigation bad faith

that justified a fee enhancement under the EAJA. Id. at 20-22.

       About a year after the IRS filed its motion for reconsideration, another district court

considered an EAJA award of fees using the framework established in Gray Panthers. See Select

Specialty Hosp.-Denver, Inc., 2020 WL 3469685, * 6. The court found that the government had

not acted in bad faith because the law surrounding the underlying issue (Medicare and Medicaid

claims and procedures) was not settled and an intervening Supreme Court case impacted the

questions involved. Id. First, the Select Specialty Court did not cite to Goodyear in its opinion,

nor did it consider any kind of “but for” analysis. And although the Select Specialty Court

reached a different conclusion regarding bad faith based upon the facts with which it was

presented, the Gray Panther analysis the court undertook there is consistent with the Gray


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Panther analysis this Court undertook here. Id. Therefore, the Gray Panthers analysis is the

proper analytical framework for this case.

                                             Conclusion

       No controlling precedent commands this Court to apply Goodyear to the facts of this

case, and subsequent decisions support this Court’s Gray Panthers analysis as being the correct

analysis. Therefore, this Court should deny the Defendants’ Motion for Partial Reconsideration

and award TTV fees according to the bad faith enhanced rates it already determined TTV was

entitled to under the EAJA.



October 18, 2022                                     Respectfully submitted,
                                                     /s/ James Bopp, Jr.
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                                    Certificate of Service

       I hereby certify that on October 18, 2022, I caused the foregoing document in the above-

captioned matter to be filed with the United States District Court for the District of Columbia via

the Court’s CM/ECF system.


                                                 /s/ James Bopp, Jr.
                                                 James Bopp, Jr.




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